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                        EXHIBIT 80
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                                                                                                                       Mr. /.l,,1Ttnu.d Pf,S~IS 13
                                                                                                                        HUE FEf{OlN.A,ND DUI/AL
                                                                                                                       1 ::--:O·l {;) AR!S



                                                                                                                             Paris, May 24. 2024




                                           Sir,

                                     The Prestdent ot L"te Republic and M.adarne Brigitte MACRON have
                                    tec~lv~d frie 1et1ers lhat vov wlsh;:;d to send IO UH~m cunUH'nmg your t,vo daoghtars,
                                    Eva and Jufielte, he!o by their moiher since 1\prli 8.

                                    Sensitive to the ccnfidenco shown by your 3pp,rc1,;ich. the rlead of St;.1te and his wHe
                                    have entrusted 1ne with the task of thanking y'()U and ensuring that all atter1lion
                                      11:, Pnid to 1hr, concern,;; you expie:is.


                                    You l<no·•.t,1 th(1 irnportance that tile President at ttie Hopublic and Madame
                                     Mt\CRON attach to child protection.

                                    In tl,is rc:gard, if Hie Hefid of State~ cannot intEN'VE:ne in a nvitter falling wiihin
                                     U,e jurisdiction of the jucliciai authority, I have nevertheless forNarded
                                   vp11, !~,Iler \(; Messrs Stf,phan~ SEJOURNE, Min1sror for Eurnp.:J .and Fi)f~Jgn Affairs,
                                     and Eric DUPO ND-MORETTI, Keeper of the Seals. f1,1ini:S1er of Justice, Their
                                     s~r·1ic~;; 1t.'1il ~:.eep you directly infoffn'8d of th0 outc0mc of your conc.crns.

                                    V\1ishing you to maintain courage. please accept. Sir, the expression
                                     of rny bes! foe!]ngs.




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   Le Conseifler special aupres
  du Preside111 de la Republique.
       Direcreur de cuhinel
   cle Madame Brigilfe Macron

N°PDR/CP/BEAR/BCM/1027468
                                                                                     Monsieur Arnaud PARIS
                                                                                     13 RUE FERDINAND DUY AL;
                                                                                     75004 PARIS


                                                                                     Paris, le          24 MAI 202'1



                   Monsieur,

                   Le President de la Republique et Madame Brigitte MACRON ont bien rec;u les
                   courriers que vous avez. souhaite leur faire parvenir concernant vos deux filles, Eva et
                   Juliette, retenues par leur mere depuis le 8 avril dernier.

                   Sensibles a la confiance dont temoigne votre demarche, le Chef de l'Etat et son epouse
                   m'ont con fie le soin de vous en remercier et de vous assurer de toute I'attention portee
                   aux inquietudes que vous exprirnez.

                   Yous connaissez rimportance que le President de la Republique et Madame MACRON
                   accordent a la protection de l'enfance.

                   A cet egard, si le Chef de l'Etat ne peut intervenir dans une affaire relevant de la
                   competence de l'autorite judiciaire, j'ai neanmoins transmis votre courrier a
                   Messieurs Stephane SE.IOURNE, ministre de !'Europe el des affaires etrangeres, ct
                   Eric DU POND-MORETTI, Garde des Sceaux, ministre de la justice. Leurs services
                   vous tiendront clirecternenl informe de la suite reservee ti vos preoccupations.

                   Yous souhaitant de garder courage, je vous prie d'agreer, Monsieur, !'expression de
                   mes sentiments les meilleurs.


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